           Case 1:21-cr-00069-APM Document 43 Filed 03/07/22 Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       *

      vs.                                      *     Case No.: 21-cr-0069 APM

JORGE A. RILEY                                 *

      Defendant                                *

********************************************
CONSENT MOTION FOR CONTINUANCE AND EXCLUSION OF TIME
    FROM CALCULATION UNDER THE SPEEDY TRIAL ACT

      COMES NOW, the Defendant Jorge A. Riley, by and through counsel,

Michael E. Lawlor, and Brennan, McKenna, & Lawlor, Chtd., and hereby moves

this Honorable Court to continue the status conference currently scheduled for

Tuesday, March 8, 2022, and exclude certain time from the Speedy Trial Act

calculation in this case. In support of this Motion, counsel states the following:

      1.       Per prior Order of the Court, Mr. Riley is scheduled to appear before

this Honorable Court on Tuesday, March 8, 2022 at 12:45 p.m. for a status

conference in the above-referenced case.

      2.       For the following reasons, undersigned counsel respectfully asks for a

45-day continuance of the status conference, and the exclusion of that time for

Speedy Trial purposes, for the following reasons.




                                           1
           Case 1:21-cr-00069-APM Document 43 Filed 03/07/22 Page 2 of 3




               a. The United States of America and counsel for Mr. Riley are

                  negotiating a possible disposition in this matter. To that end, the

                  parties have scheduled a reverse proffer in this matter;

               b. Undersigned counsel intends to continue discussions with the

                  United States and Mr. Riley about a possible resolution in this case,

                  but requires additional time to do so;

               c. Undersigned counsel was scheduled to be in trial in the matter of

                  United States v. Jermaine Campbell in the United States District

                  Court for the District of Columbia. Due to this counsel was unable

                  to meet with the defendant and discuss this matter.

      3.       Undersigned counsel has discussed this request with Mr. Riley, and is

authorized to state that he is in agreement with the instant request, and consents to

exclusion of time under the Speedy Trial Act.

      4.       Undersigned counsel has also contacted Assistant United States

Attorney Troy A. Edwards, and is authorized to state that the United States does not

oppose this motion.

      WHEREFORE, for the foregoing reasons, the Defendant respectfully requests

this Honorable Court continue the current status conference date for a period of

approximately 45 days, and exclude that time from the Speedy Trial calculation in

this case.


                                           2
        Case 1:21-cr-00069-APM Document 43 Filed 03/07/22 Page 3 of 3




                                      Respectfully submitted,

                                                  /s/
                                      _____________________
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                                      Greenbelt, Maryland 20770
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                                      mlawlor@verizon.net


                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on March 7, 2022, a copy of the foregoing was

sent via ECF to the United States Attorney’s Office for the District of Columbia.

                                                  /s/
                                             _____________________
                                             Michael E. Lawlor




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